     Case
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

TYLOR BUTTOLPH,                           Cause No.: CV-24-110-GF-JTJ

             Plaintiff,                                   ORDER

       v.

CASCADE COUNTY, CITY OF
GREAT FALLS, ALEX VANCE,
CLAYTON HENDERSON, and
DOES 1-10,

             Defendants.

      Upon Cascade County’s Motion to Sever Claims and good cause showing,

      IT IS HEREBY ORDERED that the claims asserted against the County are

severed from the claims asserted against the City Defendants and the County is

dismissed without prejudice.

      DATED this 3rd day of June 2025.
